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 5
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 6 United States of America
 7                                  IN THE UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                             CASE NO. 1:11-CR-00354 LJO
10                                    Plaintiff,           STIPULATION REFERRING MOTION FOR
                                                           SENTENCE REDUCTION TO FEDERAL
11                             v.                          DEFENDER’S OFFICE AND PROBATION
                                                           OFFICE AND ORDER THEREON
12   SALVADOR ZAMORA,
13                                   Defendant.
14
15           The defendant has filed a motion to reduce a criminal sentence pursuant to Title 18, United
16 States Code, Section 3582(c)(2). The government requests that the Court refer this motion to the
17 Probation Office and the Office of the Federal Defender and Assistant Federal Defender David M.
18 Porter, pursuant to General Order No. 546. The Federal Defender’s Office shall have 30 days from the
19 date the Court approves the stipulation/order to conduct an initial review of the motion to determine the
20 status of representation of the defendant.
21           1.       If Federal Defender’s Office determines that the defendant is eligible for representation
22 and agrees to represent the defendant, a representative of the Federal Defender’s Office shall file a
23 notice of appearance in the case. If the matter has been referred to panel counsel, a copy of this order
24 shall be forwarded by the Federal Defender’s Office to appointed panel counsel who shall then file a
25 notice of appearance in the case.
26           2.       The notice of appearance shall indicate whether counsel intends to supplement the
27 defendant’s motion.
28           3.       If the defendant does not intend to supplement the motion, the government’s response
       STIPULATION/O RDER REFERRING MOTION FOR SENTENCE
       REDUCTION
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 1 will be due 14 days following counsel’s notice of appearance.
 2            4.       If defendant’s counsel intends to supplement the defendant’s motion, then the notice of

 3 appearance shall indicate the date upon which the supplement will be filed and the date upon which the
 4 government’s response shall be due. Such dates should be mutually agreeable to the parties.
 5            5.       If the parties agree that a hearing is necessary, the notice of appearance shall include the

 6 date of the hearing, preferably no earlier than two weeks after the government’s response is filed. If the
 7 parties are not in agreement that a hearing is necessary, that issue should be addressed in the parties’
 8 respective filings.
 9            6.       Should no counsel enter an appearance on behalf of the defendant, the government will

10 file a response within 14 days of the expiration of the 30-day period referred to above.
11            7.       Upon review of the motion and response, the Court will determine whether oral argument

12 or hearing will aid its determination of the motion and notify counsel of its decision.
13 Dated: March 25, 2015                                       BENJAMIN B. WAGNER
                                                               United States Attorney
14
                                                               /s/ Kathleen A. Servatius
15                                                             KATHLEEN A. SERVATIUS
                                                               Assistant United States Attorney
16
     Dated: March 25, 2015                                     HEATHER E. WILLIAMS
17                                                             Federal Defender
18                                                             /s/ David M. Porter
                                                               DAVID M. PORTER
19                                                             Assistant Federal Defender
                                                               Attorney for Defendant
20
                                                          ORDER
21
              The above stipulation is approved. No replies are authorized unless and until requested by the
22
     Court.
23
24 SO ORDERED
   Dated: March 26, 2015
25                                                                  /s/ Lawrence J. O’Neill
                                                                   United States District Judge
26
27
28
       STIPULATION/O RDER REFERRING MOTION FOR SENTENCE
       REDUCTION
